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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                 Criminal No. 15-164(1)and(2)(DSD/BRT)


United States of America,

                  Plaintiff,

v.

Houston Oliver(1)and
James Green (2),

                  Defendants.


       LeeAnn K. Bell, United States Attorney’s Office, 300 South
       Fourth Street, Minneapolis, MN 55415, counsel for plaintiff.

       Larry E. Reed, Esq. and Reed Law Offices, P.O. Box 43596,
       Minneapolis, MN 55443, counsel for defendant Oliver.

       DeAundres D. Wilson, Esq. and Wilson Law Office, PA, 310
       Groveland Avenue, Minneapolis, MN 55403, counsel for defendant
       Green.


       This matter is before the court upon the objections by

defendants Houston Oliver and James Green to the October 13, 2015,

report and recommendation of Magistrate Judge Becky R. Thorson. In

her   report,   the   magistrate   judge      recommends    denying    Oliver’s

motions to suppress evidence and for a Franks hearing and Green’s

motions to suppress evidence and statements.                Defendants timely

objected.     Based on a de novo review of the file, record, and

proceedings herein, the court overrules the objections and adopts

the report and recommendation.
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                                  BACKGROUND

      The background of this motion is fully set out in the report

and recommendation and the court summarizes only those facts

necessary to resolve the current objections.

I.    Confidential Informant

      On   November   25,   2014,   a       longtime   reliable    confidential

informant (CI) advised the Minneapolis Police Department that

Oliver was shipping cocaine from Arizona to Minneapolis via two-day

priority mail.    The CI stated that Oliver had done so in the past

by mailing cocaine packaged in silverware boxes from a particular

post office in Maricopa, Arizona.            The CI identified Green and co-

defendant Desmond Williams as Oliver’s accomplices.                   The police

passed the information along to the Minneapolis postal inspector.

The postal inspector then intercepted two priority-mail packages

shipped from Arizona to Minneapolis.             The packages were the same

approximate weight and size and appeared to be addressed in

identical handwriting.       One of the packages originated from the

post office identified by the CI.            After a trained canine alerted

to the presence of narcotics, the postal inspector obtained a

search warrant for the two packages.              When the postal inspector

opened the packages, he discovered approximately two kilograms of

cocaine in each package concealed inside silverware boxes, as

foretold by the CI.




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       The   police   then   contacted   Williams,     who     agreed   to    an

interview.     During the interview, Williams corroborated the CI’s

information about the intercepted packages.           Williams admitted to

mailing one of the packages, and disclosed that Green had mailed

the other one.        Williams also disclosed that he and Green were

present when Oliver packaged the drugs at an Arizona home, and that

Oliver had supplied him with a cell phone to use for drug-related

business.

II.    BMW Stop and Search

       Around the same time, the police received further information

from the CI that Oliver was going to transport a large quantity of

cocaine from Arizona to Minnesota in a gray BMW with Minnesota

license plates. The drugs were due to arrive in Minneapolis on the

night of November 30.        The police determined that Oliver owned a

2002 BMW 745li with Minnesota license plates 672CAZ, and issued an

alert for the vehicle.

       Shortly before 10:00 p.m. on November 30, State Trooper Megan

Thul, who was aware of the alert, spotted Oliver’s BMW on I-35W in

Minneapolis and pulled the vehicle over.             Sherrod Rowe was the

driver and sole occupant of the car.               When asked about his

itinerary, Rowe responded that he had flown from Minnesota to

Arizona a few days earlier, picked up the BMW, and driven it back

to Minnesota where he planned to return it to Oliver.               Rowe said

that he planned to call Oliver to arrange delivery of the BMW.


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Rowe would not consent to a search of the BMW.

        Officers ultimately determined that there was probable cause

to impound the BMW based on the CI’s corroborated statements.

Officers conducted a brief search of the BMW’s interior and trunk

with a narcotics dog, which alerted to the possible presence of

narcotics inside a speaker in the trunk.              Officers decided to

obtain a search warrant, and did not search the speakers at that

time.    In the interim, the BMW was towed to an impound lot.

III. Search Warrant for BMW

        On the morning of December 2, officers secured a warrant to

search the BMW for narcotics and related items.            See Gov’t Ex. 1,

at 4–5.      They found six kilograms of cocaine hidden inside a

speaker in the trunk, a receipt in Green’s name for new tires, a

cell phone, and documents addressed to Oliver at addresses on

Dupont Avenue North and Washington Avenue in Minneapolis.

IV.     Search Warrants for Properties

        Officers then interviewed Williams a second time.            Williams

indicated that Oliver called him and, in coded language, stated

that six bricks of cocaine were in the BMW.         Williams also told the

officers that Oliver lived in a home on Dupont Avenue North, owned

a second-story loft on North Washington Avenue, owned another

building on West Broadway Avenue where Green was staying, and was




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currently staying with his girlfriend in a Minneapolis hotel.1

      Police obtained warrants to search Oliver’s properties and the

hotel room. Officers were authorized to search for narcotics; cash

and proceeds from the sale of narcotics; and documents, mailings,

photographs, keys, address books, notes, receipts, ledgers, and

“other media that shows standing at an address, responsibility for

a   vehicle,   connections        between      persons,   the   location      of     the

proceeds from the sale of narcotics, or that a crime has been

committed.”     Gov’t Ex. 5.          The warrants for the properties on

Dupont,   Washington,       and   West    Broadway    Avenues        also   expressly

authorized the seizure of cell phones, but the warrant for the

Marriot Hotel room did not.          See id. Exs. 2-5.

      Officers executed the warrants on December 2, beginning with

the hotel room.      Oliver was in the hotel room at the time and was

placed under arrest.         A search of his person uncovered cash, an

identification card, and some credit cards.                Officers also seized

five cell phones, documents, and a small amount of suspected

marijuana.     Execution of the search warrants for Oliver’s Dupont

Avenue home and Washington Avenue loft yielded documents, including

mail, a bank deposit bag, and a priority mail box. Officers seized

documents,     two   cell   phones,      and    prescription        bottles   bearing

Green’s name from the West Broadway building.                       No narcotics or



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        The hotel was later more specifically identified as the
Minneapolis Marriott Hotel, room 134.

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firearms were found at any of the premises.                   Officers arrested

Green the same day, and a cell phone was seized incident to his

arrest.      Officers questioned Green the following day.

V.     Search of Cell Phones

       On December 23, police secured a warrant to search the

numerous cell phones recovered during the searches.                        The state

judge who issued the warrant found probable cause to believe that

the cell phones were either used in the commission of a crime or

would contain evidence tending to show that a crime had been

committed.      It is unclear whether the search of the cell phones

yielded any evidence relevant to this case.

VI.    Criminal Case

       On May 20, 2015, defendants were indicted on the charge of

conspiracy     to    distribute    cocaine,       in   violation      of   21   U.S.C.

§§ 841(a)(1), 841(b)(1)(A), and 846.                   Oliver filed a motion to

suppress evidence, arguing that the search warrants were not

supported by probable cause. Oliver also moved for a Franks

hearing.      Green moved to suppress evidence and statements made

during his interview.           In a thorough and well-reasoned R&R, the

magistrate judge recommends denying the motions.                    See ECF No. 117.

Defendants have raised timely objections to the R&R.



                                   DISCUSSION

       The   court    reviews    the   report     and    recommendation         of   the


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magistrate judge de novo.        28 U.S.C. § 636(b)(1)(C); Fed. R. Crim.

P. 59(b); D. Minn. LR 72.2(b).

I.     Oliver’s Objections

       As an initial matter, the government argues that Oliver’s

objections should be stricken because his 49-page submission far

exceeds the word count limit set forth in LR 72.2(c)(1)(A).

Oliver’s submission does indeed violate the court’s local rule.

Nevertheless, the court has carefully considered the objections and

overrules them on the merits.

       A.   Factual Objections

       Oliver objects to the R&R’s conclusion that the two mailed

packages    seized    by   the   postal      inspector   each     contained      two

kilograms of cocaine, arguing that each package instead contained

one   kilogram   of   cocaine.     He       contends   that   his   position     is

supported by Williams’s plea colloquy.            He is mistaken.       Oliver’s

position is wholly belied by the record and his objection is

overruled.     See Williams Plea Hr’g Tr. at 11:13-12:13; see also

Mot. Hr’g Tr. at 79:23-80:6.

       As noted by the government, the majority of Oliver’s other

factual objections relate to his motion for a hearing under Franks

v. Delaware, 438 U.S. 154 (1978), and will be discussed in that

context.

       B.    Franks Hearing

       In Franks, the Supreme Court “held that a facially sufficient


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affidavit may be challenged on the ground that it used deliberately

or recklessly false statements to demonstrate probable cause.”

United States v. Smith, 581 F.3d 692, 695 (8th Cir. 2009).                      The

Eighth Circuit has “extended this rule ‘to allow challenges to

affidavits based on alleged deliberate omissions.’” Id. (quoting

United States v. Reivich, 793 F.2d 957, 960 (8th Cir. 1986)).

“[R]ecklessness may be inferred from the fact of omission of

information from an affidavit ... only when the material omitted

would have been ‘clearly critical’ to the finding of probable

cause.”   United States v. Thompson, 690 F.3d 977, 987 (8th Cir.

2012) (quoting United States v. Ozar, 50 F.3d 1440, 1445 (8th Cir.

1995). “[T]he test ‘is whether, after viewing all of the evidence,

the affiant must have entertained serious doubts as to the truth of

his statements or had obvious reasons to doubt the accuracy of the

information he reported.”        United States v. McIntyre, 646 F.3d

1107, 1114 (8th Cir. 2011) (quoting United States v. Butler, 594

F.3d 955, 961 (8th Cir. 2010)).

     Oliver   argues    that     the       magistrate    judge      incorrectly

recommended that the court deny his request for a Franks hearing

because (1) the search warrant affidavits do not identify Williams

as the CI, (2) the affidavits misrepresented Williams’s role in the

conspiracy, and (3) the affidavit underlying the search warrant for

the BMW omits the fact that the narcotics dog indicated the

presence of drugs in the BMW’s trunk.          None of these arguments has


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merit.

      As discussed in detail in the R&R, Oliver’s theory that

Williams is the CI is not supported by the record.                      Nor does the

record     support    a    finding     that   the   affidavits        misrepresented

Williams’s role in the conspiracy.              To the contrary, the evidence

presented    during       the   suppression     hearing    and       Williams’s       plea

colloquy is consistent with the information provided in the search

warrant affidavits.

      Oliver’s reliance on the omission of the narcotics dog alert

to   the    BMW’s    trunk      is   likewise   unavailing.           Although        that

information would have bolstered the affidavit, there was ample

other information supporting the finding of probable cause.                       Under

the circumstances, the court cannot conclude that the search

warrant affidavits contained deliberately or recklessly false

statements or omissions.              Oliver is not entitled to a Franks

hearing.2

      C.     Search of BMW

      Oliver also challenges the search of the BMW.                   He argues that

the basis for the CI’s knowledge, as set forth in the underlying

search warrant affidavit, was insufficient to establish that the

information provided was reliable.                  The court disagrees.               The

record establishes that the CI provided reliable and exacting



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       Oliver’s motion for a Franks hearing is untimely and could
be denied on that basis as well. See R&R at 31 n.13.

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information leading up to the stop of the BMW.          Specifically, the

CI provided detailed and accurate information about the cocaine

shipped from Arizona, including the originating post office, how it

would be packaged, and when it would arrive in Minnesota. Williams

further corroborated the CI’s information in his interview with

police.    The CI also accurately informed officers about the BMW,

including its license plate number, the route it would travel, and

that it would arrive in Minneapolis on the night of November 30.

Those corroborated facts, coupled with the CI’s previous track

record,3 were sufficient to establish the CI’s reliability in this

case.     Accordingly, the R&R correctly determined that there was

probable cause supporting the search warrant for the BMW.

     D.     Search of Hotel Room

     Oliver next argues that the cell phones seized during his

arrest at the hotel should be suppressed because his arrest was

unlawful and the phones were outside the scope of the search

warrant.    The record does not support Oliver’s arguments.

     First, the cell phones were not seized incident to Oliver’s

arrest, but rather pursuant to the search warrant.           See Gov’t Ex.

5, at 6. Second, although the warrant does not expressly list cell

phones as items to be seized, see id. at 1, it does list “other



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        The search warrant affidavit states that the officer had
worked with the CI for several years and that the CI provided
information that has “produced evidence and arrests.” Gov’t Ex. 1,
at 2.

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media that show standing for an address, vehicle, the location of

narcotics proceeds, or a connection between people, addresses and

vehicles or that a crime has been committed.”             Id.    It is self-

evident that a cell phone could constitute such media.4             Moreover,

officers are not precluded from seizing items not listed in the

search warrant if the items may contain items identified in the

search warrant.    See United States v. Gamboa, 439 F.3d 796, 807

(8th Cir. 2006) (concluding that the seizure of cell phones, which

were not listed in the warrant, was proper because cell phones

likely contain items specifically identified in the warrant, such

as “records of the use and purchase of controlled substances”).

Here, the search warrant lists “[d]ocuments, mails, address books,

notes, receipts, ledgers, [and] photographs,” all of which may well

be found on a cell phone.       Gov’t Ex. 5, at 1.

     In any event, officers were authorized to seize the cell

phones under the plain-view doctrine.        Under that doctrine, police

may seize items without a warrant if the item is “(1) in plain

view, (2) when it is observed from a lawful vantage point, (3)

where the incriminating character of the item is immediately

apparent.”   United States v. Banks, 514 F.3d 769, 773 (8th Cir.

2008).   The first two elements are not in dispute, and the third is



     4
       The court notes that the four other search warrants in this
case expressly list cell phones as items to be seized. See Gov’t
Exs. 1-4. Although somewhat curious, that fact does not undermine
the court’s analysis.

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established given the common recognition that “cellular telephones

are recognized tools of the drug-dealing trade.”               United States v.

Lazcano-Villalobos,      175   F.3d    838,     844    (10th      Cir.   1999).

Accordingly, the R&R correctly concludes that the cell phones were

lawfully seized from the hotel room.5

       E.    Search of Other Properties

       Oliver lastly argues that the evidence seized pursuant the

search warrants for his Dupont Avenue home, Washington Avenue loft,

and West Broadway Avenue building should be suppressed.                  Oliver

contends that the search warrant affidavits were insufficient to

establish probable cause.          For the reasons stated above with

respect to the BMW warrant, the court disagrees. The R&R correctly

finds that the warrants were supported by probable cause.

II.    Green’s Objections

       A.    Motion to Suppress Cell Phone

       Green first objects to the R&R’s recommendation that his

motion to suppress evidence be denied.          Green argues that because

his arrest was not supported by probable cause, the cell phone

seized incident to that arrest must be suppressed.               Specifically,

he argues that at the time of his arrest, police only knew that he

was present when cocaine was being packaged, but did not have



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         As noted, there is no indication as to what, if any,
evidence was gleaned from the cell phones. Therefore, this issue
may be moot in any event.

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information that he was involved in packaging the drugs or that he

knew the package he sent from Arizona contained drugs.                        Green

ignores, however, the fact that the CI directly implicated him as

one    of   Oliver’s      accomplices    and    that    Williams   confirmed       his

involvement in the conspiracy.                 See Gov’t Ex. 1, at 1.          That

information      was       sufficient     to     establish     probable      cause.

Nevertheless, even if Green is correct, police still had probable

cause to arrest him because the facts create a reasonable inference

that Green was “aware of the criminal nature of the transaction.”

United      States   v.   Clark,   754   F.2d    789,    791   (8th   Cir.   1985).

Accordingly, Green’s objection on this basis is overruled.

       B.     Motion to Suppress Statements

       Green also objects to the R&R’s recommendation that the court

deny his motion to suppress statements.                    He argues that the

officers should have stopped questioning him as soon as he said he

was “done talking.”

       “If the individual indicates in any manner, at any time prior

to or during questioning that he wishes to remain silent, the

interrogation must cease.”          Miranda v. Arizona, 384 U.S. 436, 473

(1966).       That wish, however, must be unequivocally expressed

“through a clear, consistent expression of a desire to remain

silent.”      United States v. Ferrer-Montoya, 483 F.3d 565, 569 (8th

Cir. 2009).      The court has listened to the audio recording of the

interview and is satisfied that Green did not express a clear,


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consistent desire to remain silent.             Although Green did say he was

“done talking,” he continued to speak immediately after that

statement and to answer questions without hesitation. As a result,

he did not evince a desire to remain silent and his objection is

overruled.

                                CONCLUSION

     Accordingly, IT IS HEREBY ORDERED that:

     1.      The R&R [ECF No. 117] is adopted in its entirety;

     2.      Oliver’s   objections      to   the      R&R   [ECF    No.   133]      are

overruled;

     3.      Oliver’s amended motion to suppress [ECF No. 74] is

denied;

     4.      Oliver’s motion for a Franks hearing [ECF No. 103] is

denied;

     5.      Green’s    objections     to    the     R&R    [ECF    No.   134]      are

overruled;

     6.      Green’s motion to suppress evidence [ECF No. 54] is

denied;

     7.      Green’s motion to suppress statements [ECF No. 55] is

denied; and

     8.      Green’s amended motion to suppress [ECF No. 81] is

denied.

Dated:    November 23, 2015
                                             s/David S. Doty
                                             David S. Doty, Judge
                                             United States District Court

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